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                         United States District Court
                          Middle District of Florida
                            Jacksonville Division

WHERTEC, INC.,

            Plaintiff,

v.                                                 NO. 3:20-cv-1254-J-39PDB

SIANO SALMON ET AL.,

            Defendants.



                                    Order

      The plaintiff asks the Court to seal certain exhibits to a declaration
supporting a motion for a preliminary injunction. Docs. 10, 24, 24-1. The
plaintiff’s counsel states she conferred with the defendants’ counsel by email
about the requested relief at least two days before filing the motion but cites
Local Rule 7.1 for the Southern District of Florida instead of Local Rule 3.01(g)
for the Middle District of Florida. Doc. 10 at 3. She states the defendants’
counsel “acknowledged” her email but stated no position on the request. Doc.
10 at 3. The defendants have not responded, and the time to do has passed.

      The law on sealing is in the order entered on December 10, 2020. Doc.
17.

      The Court grants the request for sealing, Docs. 10, 24, 24-1, to the extent
the clerk is directed to maintain the following exhibits under seal: Docs. S-22
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(Ex. 1 to motion), S-22-1 (Ex. 2 to motion), S-22-2 (Ex. 3 to motion), * S-22-3 (Ex.
4 to motion), S-22-4 (Ex. 5 to motion), S-22-5 (Ex. 6 to motion), S-22-6 (Ex. 7 to
motion), and S-22-7 (Ex. 8 to motion).

       For these exhibits, the presumption of public access is rebutted. The
exhibits contain customer, pricing, sales, and other business information
protected by the plaintiff and not publicly available that could be used unfairly
by competitors if publicly available. The parties have filed the motion and
response without redactions, enabling the public to understand the arguments,
see Docs. 9–9-1, 31–31-9, and no less restrictive alternative is available. The
information must remain sealed until the close of the case or any appeal,
whichever is later, or upon an order directing otherwise. The Court will not
return or destroy the sealed documents at the close of the case as the plaintiff
requests, Doc. 24 at 7; copies of the documents are in the CM/ECF system and
cannot be returned as they had been under the old paper filing system.

       The clerk is directed to unseal the following exhibits: Docs. S-22-8 (Ex. 9
to the motion), and S-22-9 (Ex. 10 to the motion). The plaintiff states those
exhibits need not remain sealed. Doc. 24 at 4 n.1.




       *The  plaintiff claims exhibit 3 of the motion “contains specific order and sales history,
which includes detailed sales, costs, and profit information for Plaintiff’s business
operations.” Doc. 24 at 4. The exhibit does not appear to contain that type of information but,
like exhibit 2 of the motion, contains other information worthy of sealing.
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      Nothing in this order should be construed to mean any of the plaintiff’s
information constitutes a “trade secret” as that term is defined by statute.
Moreover, nothing in this order prohibits discussion of the exhibits at any
hearing or trial.

      Ordered in Jacksonville, Florida, on January 12, 2021.




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